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  8                             UNITED STATES DISTRICT COURT
  9                         SOUTHERN DISTRICT OF CALIFORNIA
 10
 11    UNITED STATES OF AMERICA,                                 CASE NO. 01cr2805-J
 12                                           Plaintiff,         Order Denying Motion for Reduction
               vs.                                               of Sentence under Rule 35
 13
       RAMON ALBERTO UBENCE-ANGULO,
 14    JR.,

 15                                        Defendant.

 16
             Defendant Ramon Alberto Ubence-Angulo moves the Court under Fed. R. Crim. P. 35 for
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      an order reducing his sentence. The Court DENIES Defendant’s motion.
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             Defendant was convicted on several counts of possession with the intent to distribute and
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      conspiracy to distribute marijuana. On November 18, 2002, the Court sentenced Defendant to 151
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      months in custody. Defendant appealed his conviction and sentence, but the Ninth Circuit
 21
      affirmed. Defendant then filed a motion under 28 U.S.C. § 2255, which the Court denied.
 22
             Defendant now moves for reduction of his sentence under Rule 35 of the Federal Rules of
 23
      Criminal Procedure. Defendant asks the Court to re-examine his 151 month sentence “with a
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      conscious regard for his demonstrated capacity for change . . . .” Defendant also points to the
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      disparity between his sentence and the sentence the Court imposed upon his co-defendants.
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      Defendant does not argue the Court imposed an unlawful sentence, but instead asks the Court to
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      re-examine the sentence in the interests of justice.
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  1          Rule 35 does not authorize the Court to grant the relief Defendant requests. The Court may
  2   reduce a defendant’s sentence under Rule 35 only to correct a clear error or upon the government’s
  3   motion based upon defendant’s substantial assistance. Fed. R. Crim. P. 35. Neither of these
  4   circumstances are present in this case. In addition, although it may be appropriate in certain
  5   circumstances to construe a motion under Rule 35 as a motion to correct a sentence under 28
  6   U.S.C. § 2255, United States v. Eatinger, 902 F.2d 1383, 1384 (9th Cir. 1980), Defendant has
  7   previously filed a motion under § 2255 and he does not argue in his current motion that his
  8   sentence was unlawful. Therefore, Defendant’s motion is DENIED.
  9          IT IS SO ORDERED.
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 11   DATED: May 6, 2008
 12
                                                     IRMA E. GONZALEZ, Chief Judge
 13                                                  United States District Court
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